      Case 4:21-cv-02411 Document 1 Filed on 07/23/21 in TXSD Page 1 of 18




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CONNIE GUILLORY,                                §§
                                                §§
       Plaintiff,                               §§
                                                §§
vs.
vs.                                             §§
                                                §§                      4:21-cv-02411
                                                       CIVIL ACTION NO. ___________
                                                §§
FAMILY DOLLAR STORES OF TEXAS,                  §§                 Jury Demand
LLC,                                            §§
                                                §§
       Defendant.                               §§
                                   NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF TEXAS:

                                        I.
                           COURT AND PARTY INFORMATION

       1.      FAMILY DOLLAR STORES OF TEXAS, LLC is the defendant in a civil action

                                  133rd District Court of Harris County, Texas, entitled
commenced on June 21, 2021 in the 133rd

Connie Guillory v. Family Dollar Stores of
                                        of Texas, LLC, Cause No. 2021-37115 ("State Court

                            Plaintiff's Original Petition; (2) Return of Service to Family Dollar
Action"). Copies of the (1) Plaintiffs

Stores of Texas, LLC; (3) Defendant's Original Answer; and (4) the Civil Docket Sheet are

attached hereto and constitute all process, pleadings and orders served in the State Court Action.

                                                                        133rd District Court of
See Index of State Court Documents attached hereto. The address for the 133rd

                                                                                  11th Floor,
Harris County, Texas is as follows: Harris County Civil Courthouse, 201 Caroline, 11th

Houston, Texas 77002.


       2.      Plaintiff in the State Court Action is Connie Guillory ("Plaintiff').
                                                                      ("Plaintiff"). Plaintiff is

represented by Fernando R. Garza Resendez (Texas Bar No. 24107777) of Garza Resendez,


NOTICE OF REMOVAL                                                                             PAGE 1
                                                                                                   1
                                                                            8616984 vl
                                                                                    v1 (79656.00104.000)
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PLLC, 1900       W. Gray Street. #131015, Houston, Texas 77219, (956) 320-9021,

fernando@gtriallaw.com. Family Dollar Stores of Texas, LLC ("Defendant" or "Family Dollar")

is the defendant in the State Court Action and is represented by Kenneth C. Riney (Texas Bar

No. 24046721) and Clayton S. Carter (Texas Bar No. 24120750) of Kane Russell Coleman

Logan PC, 901 Main Street, Suite 5200, Dallas, Texas 75202, (214) 777-4200, kriney@krcl.com,

ccarter@krcl.com.

                                           II.
                                   STATE COURT ACTION

       3.      Plaintiff claims that on or about June 10, 2020, she was injured while shopping at

the Family Dollar Store #5534, which is located at 10425 Veterans Memorial Dr., Houston,

Texas 77038, when she fell after stepping on an unidentified object on the floor.


       4.      Defendant requested a trial by jury in the State Court Action, and the jury fee has

been paid.

                                          III.
                                 GROUNDS FOR REMOVAL

       5.      Defendant files this Notice of Removal on the grounds of diversity jurisdiction

under 28 U.S.C. § 1332(a). A suit may be removed from state court to federal court on the

grounds of diversity jurisdiction when the suit involves a controversy between citizens of

different states and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       6.      Except as otherwise expressly provided by an Act of Congress, any civil action

brought in a state court of which the district courts of the United States have original jurisdiction

may be removed to the district court of the United States for the district and division embracing

the place where the action is pending. See 28 U.S.C. § 1441. The Houston Division of the




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Southern District of Texas is the United States district and division embracing Harris County,

Texas, the county in which the State Court Action is pending.

A.       This Notice of Removal is timely filed.

         7.     The citation and petition in this action were served on Defendant on June 25,

2021, by serving Defendant's registered agent. This Notice of Removal is filed within thirty (30)

days of receipt of the citation and petition and is, therefore, timely filed pursuant to U.S.C. §

1446(b).

B.       Complete diversity exists between the parties properly joined.

         8.     This is a civil action that falls under the Court's
                                                            Court’s original jurisdiction pursuant to

28 U.S.C. § 1332(a) and is one that may be removed to this Court based on diversity of

citizenship in accordance with 28 U.S.C. §§ 1441 and 1446. Complete diversity exists in this

case because Plaintiff and Defendant are citizens of different states.

         (i)    Plaintiff

         9.                  Plaintiff's Original Petition, Plaintiff is a resident of the State of
                As stated in Plaintiffs

Texas. Thus, Plaintiff is now, and was at the time this action commenced, a citizen of the State of

Texas.

         (ii)   Defendant

         10.    Defendant is a foreign limited liability company whose sole member is Family

Dollar Stores of Ohio, Inc., a foreign corporation formed under the laws of the Commonwealth

of Virginia with its principal place of business in the Commonwealth of Virginia. Thus,

Defendant Family Dollar is now and was at the time this action was commenced a citizen of the

Commonwealth of Virginia and of no other state.

         11.    As Plaintiff is a citizen of the State of Texas and not of the Commonwealth of



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Virginia, complete diversity exists pursuant to 28 U.S.C. § 1332.

C.     The amount in controversy requirement is satisfied.

       12.                     Plaintiff's Original Petition, the amount in controversy in this
               As reflected in Plaintiffs

action, exclusive of interest and costs, exceeds the sum of $75,000. Specifically, as explicitly

stated in Plaintiffs
          Plaintiff's Original Petition, Plaintiff seeks monetary relief over $250,000 but not more

                     Plaintiff's Original Petition, ¶
than $1,000,000. See Plaintiffs                     ¶ IV.5.
                                                      W.5. Therefore, the estimate of damages that

has been put at issue in this action by Plaintiff and the amount in controversy in this action

exceeds $75,000.

       13.     Removal of the State Court Action is proper pursuant to 28 U.S.C. § 1441,

because it is a civil action brought in a state court, and the federal district courts have original

jurisdiction over the subject matter under 28 U.S.C. § 1332(a) because Plaintiff and Defendant

are diverse in citizenship.

       WHEREFORE, Defendant, pursuant to these statutes and in conformance with the
                                                                                      rd
requirements set forth in 28 U.S.C. § 1446, removes this action for trial from the 133
                                                                                   133rd District

                                                  23rd day of July, 2021.
Court, Harris County, Texas to this Court on this 23rd




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                                       Respectfully submitted,

                                       KANE RUSSELL COLEMAN LOGAN PC


                                       By: /s/ Kenneth C. Riney
                                           Kenneth C. Riney
                                           State Bar No. 24046721
                                           SDOT No. 1143239
                                           E-Mail: kriney@krcl.com
                                           Clayton S. Carter
                                           State Bar No. 24120750
                                           SDOT No. 3667162
                                           E-Mail: ccarter@krcl.com

                                             901 Main Street, Suite 5200
                                             Dallas, Texas 75202
                                             Telephone:     (214) 777-4200
                                             Facsimile:     (214) 777-4299

                                       ATTORNEYS FOR DEFENDANT
                                       FAMILY DOLLAR STORES OF TEXAS, LLC.


                                CERTIFICATE OF SERVICE

                                                            23rd day of July, 2021, a copy of the
        The undersigned hereby certifies that on this the 23th
foregoing document was filed electronically with the Clerk of Court using the CM/ECF system.
Notice of this filing will be sent to counsel for Plaintiff by operation of the Court's
                                                                                Court’s electronic
filing system, unless counsel for Plaintiff is not registered with the CM/ECF system, in which
case the undersigned certifies that a copy of the foregoing document was sent to counsel in
accordance with the Federal Rules of Civil Procedure.


                                       /s/ Kenneth C. Riney
                                       Isl
                                       Kenneth C. Riney




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CONNIE GUILLORY,                           §§
                                           §§
       Plaintiff,                          §§
                                           §§
vs.
vs.                                        §§
                                           §§                      4:21-cv-02411
                                                  CIVIL ACTION NO. ___________
                                           §§
FAMILY DOLLAR STORES OF TEXAS,             §§                Jury Demand
LLC,                                       §§
                                           §§
       Defendant.                          §§

                         INDEX OF STATE COURT DOCUMENTS


       DOCUMENT                                                    DATE

1.     Plaintiff's Original Petition
       Plaintiffs                                                   06/21/2021



2.     Return of Service on Defendant Family Dollar Stores          06/29/2021
       of Texas, LLC

3.     Defendant Family Dollar Stores of Texas, LLC's               07/16/2021
       Original Answer

4.     Civil Docket Sheet




INDEX OF STATE COURT DOCUMENTS                                                    SOLO PAGE
                                                                          v1 (79656.00104.000)
                                                                  8607031 vl (79656.00104.000)
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                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 54609138
                          2021-37115 /
                          2021-37115 / Court:
                                       Court: 133
                                              133                                                     By: Monica Jackson
                                                                                                Filed: 6/21/2021 1:45 PM

                               CAUSE NO.

CONNIE GUILLORY                                                      IN THE DISTRICT COURT

       PLAINTIFF,

v.                                                                         JUDICIAL DISTRICT

FAMILY DOLLAR STORES OF TEXAS
LLC
     DEFENDANT.                                                     HARRIS COUNTY, TEXAS

                            PLAINTIFF'S ORIGINAL PETITION

       COMES NOW Connie Guillory (hereinafter "Plaintiff') and complains of Family dollar

Stores of Texas, LLC, ("Defendant") and for cause of action would respectfully show that:

                                           I.
                                    NATURE OF ACTION

       1.      Plaintiff suffered injuries as a result of a slip and fall caused by Defendant's

negligence.

                                            II.
                                     DISCOVERY LEVEL

       2.      Discovery in this matter may be conducted under Level 3 of the Texas Rules of

Civil Procedure.

                                           III.
                                JURISDICTION AND VENUE

       3.      The claims asserted arise under the common law of Texas.

       4.      Venue is proper in Harris County because a substantial part of the acts or omissions

giving rise to this claim occurred in Harris County, Texas.
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                                  IV.
              STATEMENT REGARDING MONETARY RELIEF SOUGHT

       5.      Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff seeks monetary relief for

more than $250,000 but not more than $1,000,000.00. Discovery in this matter has just commenced

and, therefore, Plaintiff cannot reliably state a maximum amount of damages she is seeking at this

time and reserves her right to supplement in accordance with the Texas Rules of Civil Procedure.

                                              V.
                                            PARTIES

       6.      Plaintiff is a resident of Harris County, Texas.

       7.      Defendant Family Dollar Stores of Texas, LLC is a foreign, limited liability

company. This Defendant may be served with process through its registered agent: Corporation

service Company D/B/A CSC — Lawyers Incorporating Service Company, 211 E. 7th Street, Suite

620, Austin, Texas 78701.

       8.      To the extent that the above-named Defendants are conducting business pursuant

to a trade name or assumed name, then suit is brought against it pursuant to the terms of Texas

Rule of Civil Procedure 28, and Plaintiff demands that, upon answering this suit, each Defendant

answer in its correct legal name and assumed name.

                                               VI.
                                              FACTS

        9.     On or about June 10, 2020, Plaintiff was an invitee shopping inside Family Dollar

Store #5534. As she was walking through the aisle, she fell when she stepped on an object that

was on the floor. The object on the floor at Defendant's store constituted a hazardous condition

which Defendant and/or its employees/agents were aware of or reasonably should have been

aware of As such, Defendant owed Plaintiff a duty to remedy the hazardous condition or warn

Plaintiff of said hazard. No such action was taken by Defendant nor Defendant's


                                            Page 2 of 5
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employee/agents proximately resulting in Plaintiff's incident and associated severe and

permanent physical injuries.

                                           VII.
                                     CAUSES OF ACTION

A.     Negligence and Gross Negligence — All Defendants

       10.      Plaintiff repeats and realleges each allegation contained above.

       11.      Defendant is liable to Plaintiff under the theory of premises liability, negligence,

gross negligence, and negligence per se based on the following negligent conduct:

             a. Failed to adequately warn Plaintiff of an unreasonably dangerous condition upon

                the premises;

             b. Failed to make the unreasonably dangerous condition upon the premises reasonably

                safe;

             c. Negligently hired and/or retained their employees, including maintenance and

                clean-up staff;

             d. Negligently trained and/or supervised their employees;

             e. Failed to perform routine maintenance and safety inspections; and

             f. Other acts so deemed negligent and grossly negligent.

        12.     The particular acts or omissions constituting negligence and gross negligence listed

above, were committed by Defendant and/or its agents, servants, and employees within the course

and scope of their employment. As such Defendant is liable for its agents', servants', and

employees' negligent acts and omissions under the doctrine of respondeat superior.




                                            Page 3 of 5
     Case 4:21-cv-02411 Document 1 Filed on 07/23/21 in TXSD Page 10 of 18




                                               VIII.
                                           DAMAGES
         13.   As a direct and proximate result of the negligence and gross negligence of

Defendant, Plaintiff sustained injuries, which resulted in, and proximately caused, physical pain,

mental anguish, and other medical problems. Plaintiff will show that she has also sustained pain

and suffering, physical impairment, mental anguish disfigurement, and loss of enjoyment of life,

and that in all reasonable probability, such pain and suffering, physical impairment, mental

anguish, disfigurement, and loss of enjoyment of life will continue indefinitely as a proximate

cause of Defendant's negligence and gross negligence. Plaintiff has incurred and within reasonable

medical probability, will incur in the future pharmaceutical and/or medical expenses in connection

with her injuries.

         14.   Defendant's conduct, when viewed from a standpoint of the actors at the time of

the occurrence, involved an extreme degree of risk, considering the probability and magnitude of

the potential harm to others. Defendant's conduct demonstrates not only at attitude of conscious

indifference to the rights, safety, and welfare of others, but shows Defendant's actual and

subjective awareness of the dangers of their conduct. Defendant proceeded with conscious

indifference to the rights, safety, and welfare of others, including Plaintiff. Defendant is therefore

liable for exemplary damages.

                                       RULE 193.7 NOTICE

         15.   Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby gives

actual notice to Defendant that any and all documents produced may be used against Defendant at

any pre-trial proceeding and/or at the trial of this matter without the necessity of authenticating the

documents.




                                             Page 4 of 5
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                                             IX.
                                   REQUEST FOR JURY TRIAL

            16.   Plaintiff respectfully demands a jury trial and tenders the appropriate fee with this

petition.

                                                 X.
                                               PRAYER

            17.   For the reasons set forth herein, Plaintiff prays that this Court cite Defendant to

appear and answer herein and that Plaintiff have judgment taken against Defendant and recover all

damages allowed by law, pre-judgment and post judgment interest as allowed by law, punitive

damages, costs of court, and such other and further relief, both general and special, at law or in

equity, to which Plaintiff may show herself justly entitled to, but not limited to:

            •     Past and future medical damages;
            •     Past and future physical pain and suffering and mental anguish;
            •     Past and future impairment;
            •     Past and future disfigurement;
            •     Costs of Court;
            •     Such other and further relief as the Court may deem just and proper.



                                                        Respectfully submitted,

                                                        GARZA RESENDEZ, PLLC
                                                        /s/ Fernando R. Garza Resendez
                                                        Fernando R. Garza Resendez
                                                        State Bar No. 24107777
                                                        1900 W. Gray St. #131015
                                                        Houston, Texas 77219
                                                        Telephone: (956) 320-9021
                                                        Facsimile: (956) 265-1110
                                                        E-mail: fernando@grtriallaw.com
                                                        vvvv'w.grtri a;, aw in

                                                        ATTORNEY FOR PLAINTIFF



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            Case 4:21-cv-02411 Document 1 Filed on 07/23/21 in TXSD Page 12 of 18                                   6/29/2021 9:53 AM
                                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                                              Envelope No. 54873477
                                       CAUSE NUMBER: 2021-37115                                                     By: Keeley Hodgins
                                                                                                             Filed: 6/29/2021 9:53 AM
 CONNIE GUILLORY
 PLAINTIFF
                                                          IN THE 133RD JUDICIAL DISTRICT
 VS.
                                                          COURT OF HARRIS COUNTY, TEXAS

 FAMILY DOLLAR STORES OF TEXAS, LLC
 DEFENDANT
                           RETURN OF SERVICE

My name is D'ANN WATHEN. I am over the age of eighteen (18), I am not a party to this case, and have no
interest in its outcome. I am in all ways competent to make this affidavit and this affidavit is based on personal
knowledge. The facts stated herein are true and correct. My business address is: 1320 QUITMAN ST. STE
100, HOUSTON, HARRIS COUNTY, TX 77009, U.S.A.

ON Tuesday June 22, 2021 AT 12:41 PM - CITATION, PLAINTIFF'S ORIGINAL PETITION,
came to hand for service upon FAMILY DOLLAR STORES OF TEXAS, LLC BY SERVING ITS
REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC — LAWYERS
INCORPORATING SERVICE COMPANY.

On Friday June 25, 2021 at 12:20 PM - The above named documents were hand delivered to: FAMILY
DOLLAR STORES OF TEXAS, LLC BY SERVING ITS REGISTERED AGENT,
CORPORATION SERVICE COMPANY D/B/A CSC — LAWYERS INCORPORATING SERVICE
COMPANY @ 211 E. 7TH STREET, SUITE 620, AUSTIN, TX 78701, in Person.By delivering to
Samantha Guerra, designated agent.

FURTHER AFFIANT SAYETH NOT.


STATE OF TEXAS                                   DECLARATION
"My name is D'ANN WATHEN, my date of birth is 12/21/1971 my business address is 1320 QUITMAN STREET,
HOUSTON, T)( 77009, and I declare under penalty of perjury that this affidavit is true and correct."
Executed in Harris County, State of Texas on Tuesday June 29, 2021


 /s/D'ANN WATHEN                              PSC#6622 EXP. 06/30/21
Declarant                                          Appointed in accordance with State Statutes

                                                           2021.06.569544
      Case 4:21-cv-02411 Document 1 Filed on 07/23/21 in TXSD Page 13 of 18                         7/16/2021 9:51 AM
                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                              Envelope No. 55413787
                                                                                                            Iliana Perez
                                                                                                        By: !liana
                                                                                             Filed: 7/16/2021 9:51 AM

                                     CAUSE NO. 2021-37115

CONNIE GUILLORY,                                     §
                                                     §     IN THE DISTRICT COURT
                                                     §
                                                     §
       Plaintiff,                                    §
                                                     §
                                                     §
                                                     §
vs.
vs.                                                  §
                                                     §     HARRIS COUNTY, TEXAS
                                                     §
                                                     §
FAMILY DOLLAR STORES OF TEXAS,                       §§
LLC,                                                 §§
                                                     §§
       Defendant.                                    §§    133RD JUDICIAL DISTRICT
                                                           133RD

 DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER

       COMES NOW FAMILY DOLLAR STORES OF TEXAS, LLC ("Defendant Family

Dollar") and files this, its Original Answer and, in support thereof, would show the Court as

follows:

                                             I.
                                       GENERAL DENIAL

       Defendant Family Dollar places in issue all matters contained in Plaintiffs
                                                                        Plaintiff's Original

Petition and any amendments thereto, by general denial, pursuant to Rule 92 of the Texas Rules

of Civil Procedure.

                                              II.
                                         JURY DEMAND

        Defendant Family Dollar respectfully demands a trial by jury.

                                                    III.

       Defendant Family Dollar asserts that in accordance with Section 33.013 of the Texas

Civil Practice & Remedies Code, this Defendant may not be held jointly and severally liable for

any amount of damages claimed herein unless the percentage of responsibility of this Defendant

when compared with that of each responsible party, each settling person, and each responsible

third party, is greater than fifty percent (50%).


DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER                               PAGE 1
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                                                 IV.

                                            Plaintiff's claims for damages are barred in whole
       Defendant Family Dollar alleges that Plaintiffs

or in part, due to her failure to mitigate damages.

                                                 V.

       Defendant Family Dollar invokes the limitation on liability for medical or health care

expenses as provided by section 41.0105 of the Texas Civil Practice and Remedies Code.

Specifically, Plaintiff is limited to recovery of medical or health care expenses actually paid or

incurred by or on behalf of Plaintiff, not to include amounts adjusted, discounted or written-off.

                                                VI.

                                            Plaintiff's damages with respect to loss of earnings
       Defendant Family Dollar asserts that Plaintiffs

and/or loss of earning capacity, if any, are limited to a net loss after reduction for income tax

payments or unpaid tax liability pursuant to any federal income tax law, pursuant to section

18.091 of the Texas Civil Practice and Remedies Code.

                                                VII.

       Defendant Family Dollar hereby invokes its entitlement to all definitions, instructions,

defenses and limitations provided by Chapter 41 of the Texas Civil Practice and Remedies Code,

including but not limited to, sections 41.003, 41.004, 41.005, 41.006, 41.007, 41.008, 41.009 and

41.012.

                                                VIII.

       Defendant Family Dollar denies any alleged act or omission under the circumstances

herein justify any claim for exemplary or punitive damages. Such claims as against Defendant

Family Dollar are in violation of the 5 th
                                      5th  and 14th
                                                 th
                                                    Amendments to the United States Constitution,

and Article 1, sections 3 and 19 of the Texas Constitution, in that such claims as made are



DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER                                  PAGE 2
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arbitrary, unreasonable, and in violation of Defendant Family Dollar's rights to due process and

equal protection of the law. Plaintiffs
                             Plaintiff's claims are unconstitutionally vague to the extent that any

claims of Plaintiff against Defendant Family Dollar should be proven beyond a reasonable doubt

          6th Amendment of the United States Constitution, as opposed to a mere clear and
under the 6th

convincing evidence.     Defendant Family Dollar further asserts that any claim for punitive
                                                                             th
damages in a civil matter constitutes an excessive fine in violation of the 8
                                                                            8th Amendment to the

United States Constitution.

                                               IX.

       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant Family Dollar

hereby places the parties to this suit on notice of its intent to use all documents produced by the

parties in response to written discovery in all pretrial proceedings and/or at trial of the above-

entitled and numbered cause.

       WHEREFORE, PREMISES CONSIDERED, Defendant Family Dollar prays that

Plaintiff take nothing by her suit, that Defendant Family Dollar recover all costs, and for such

other and further relief to which Defendant Family Dollar may show itself to be justly entitled,

both at law and in equity.




DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER                                 PAGE 3
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                                                                                     v1 (79656.00104.000)
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                                    Respectfully submitted,

                                    KANE RUSSELL COLEMAN LOGAN PC


                                    By: /s/ Kenneth C. Riney
                                        Kenneth C. Riney
                                        State Bar No. 24046721
                                        E-Mail: kriney@krcl.com
                                        Clayton S. Carter
                                        State Bar No. 24120750
                                        E-Mail: ccarter@krcl.com

                                         901 Main Street, Suite 5200
                                         Dallas, Texas 75202
                                         Telephone:     (214) 777-4200
                                         Facsimile:     (214) 777-4299

                                    ATTORNEYS FOR DEFENDANT




                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of foregoing has been
              16th day of July 2021, as follows:
served on the 16th

      V
      VIA E-MAIL: fernando(&,ertriallaw.com
       IA E-MAIL: fernando@grtriallaw.com
      Fernando R. Garza Resendez
      GARZA RESENDEZ,
      GARZA  RESENDEZ, PLLC
      1900 W. Gary Street, #131015
      Houston, TX 77219


                                              /s/ Kenneth C. Riney
                                              Kenneth C. Riney




DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC'S ORIGINAL ANSWER                             PAGE 4
                                                                         8616900 vl
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HCDistrictclerk.com          GUILLORY, CONNIE vs. FAMILY DOLLAR STORES OF                         7/23/2021
                             TEXAS LLC
                             Cause: 202137115   CDI: 7   Court: 133

APPEALS
No Appeals found.

COST STATMENTS
No Cost Statments found.

TRANSFERS
No Transfers found.

POST TRIAL WRITS
No Post Trial Writs found.

ABSTRACTS
No Abstracts found.

SETTINGS
No Settings found.

NOTICES
No Notices found.

SUMMARY
CASE DETAILS                                            CURRENT PRESIDING JUDGE
File Date                       6/21/2021               Court        133rd

Case (Cause) Location                                   Address      201 CAROLINE (Floor: 11)
                                                                     HOUSTON, TX 77002
Case (Cause) Status             Active - Civil
                                                                     Phone:7133686200
Case (Cause) Type               Premises
                                                        JudgeName    JACLANEL M. MCFARLAND
Next/Last Setting Date          N/A
                                                        Court Type   Civil
Jury Fee Paid Date              7/16/2021




ACTIVE PARTIES
Name                                         Type                                        Post Attorney
                                                                                         Jdgm
GUILLORY, CONNIE                             PLAINTIFF - CIVIL                                  GARZA
                                                                                                RESENDEZ,
                                                                                                FERNANDO R.

FAMILY DOLLAR STORES OF TEXAS LLC            DEFENDANT - CIVIL                                  RINEY,
                                                                                                KENNETH
                                                                                                CHARLES

FAMILY DOLLAR STORES OF TEXAS LLC MAY BE REGISTERED AGENT
SERVED THROUGH ITS
              Case 4:21-cv-02411 Document 1 Filed on 07/23/21 in TXSD Page 18 of 18
INACTIVE PARTIES
No inactive parties found.

JUDGMENT/EVENTS
Date  Description                                  Order      Post Pgs Volume Filing                  Person
                                                   Signed     Jdgm     /Page Attorney                 Filing
7/16/2021   JURY FEE PAID (TRCP 216)                               0
7/16/2021   ANSWER ORIGINAL PETITION                                0               RINEY, KENNETH    FAMILY DOLLAR
                                                                                    CHARLES           STORES OF TEXAS
                                                                                                      LLC

7/16/2021   JURY FEE PAID (TRCP 216)                                0

6/21/2021   ORIGINAL PETITION                                       0               GARZA RESENDEZ,   GUILLORY, CONNIE
                                                                                    FERNANDO R.



SERVICES
Type Status                   Instrument Person Requested Issued Served Returned Received Tracking Deliver
                                                                                                   To
CITATION SERVICE         ORIGINAL              FAMILY   6/21/2021   6/21/2021 6/25/2021                  73882446   E-MAIL
         RETURN/EXECUTED PETITION              DOLLAR
                                               STORES
                                               OF TEXAS
                                               LLC MAY
                                               BE
                                               SERVED
                                               THROUGH
                                               ITS
     211 E 7TH STREET SUITE 620 AUSTIN TX 78701



DOCUMENTS
Number          Document                                                                        Post Date           Pgs
                                                                                                Jdgm
96867126        DEFENDANT FAMILY DOLLAR STORES OF TEXAS LLCS ORIGINAL ANSWER                          07/16/2021    4

96580817        Return of Service                                                                     06/29/2021    1

96447249        Plaintiffs Original Petition                                                          06/21/2021    5
